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16
17                       IN THE UNITED STATES DISTRICT COURT

18                             FOR THE DISTRICT OF ARIZONA

19
     United States of America,                               No. CR-18-422-PHX-SMB
20
                          Plaintiff,
21            v.                                      UNITED STATES’ OPPOSITION TO
                                                        DEFENDANTS’ MOTION TO
22   Michael Lacey, et al.,                            INDEFINITELY DELAY TRIAL
                                                                (CR 990)
23                        Defendants.

24                                      INTRODUCTION
25         Defendants’ motion to indefinitely delay this trial—already set to commence more
26   than 28 months after their arraignments—should be denied. Defendants suggest that no
27   trial should occur until “unmasked testimony will be perfectly safe”—that is, until “after
28   the pandemic.” (Mot. at 12). Defendants’ concerns will not be completely eliminated until
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 1   there is a vaccine or cure for COVID-19, which could be months or even several years
 2   from now. Yet, it simply is not possible or practical to put trials on hold indefinitely.
 3   Rather, the government supports the Court’s efforts in exploring measures that would allow
 4   jury trials to proceed safely during this time, while protecting the constitutional rights of
 5   Defendants and the health and safety interests of all trial participants. 1
 6          The United States is mindful of the health concerns raised in Defendants’ motion,
 7   and does not mean to minimize them in any way. Rather, as explained below, Defendants’
 8   concerns are not insurmountable obstacles, and this trial (already continued on three prior
 9   occasions) should proceed as scheduled on August 17, 2020 or within a reasonable time
10   this fall, when protocols are in place to ensure, to the greatest extent possible, the safety of
11   all participants.
12                                      RELEVANT FACTS
13              Three Trial Continuances Have Already Been Granted In This Case
14          The parties agreed at the outset that this is a complex case and negotiated a
15   scheduling order that included deadlines linked to an October 7, 2019 trial date. (CR 121).
16   In exchange for the certainty of a trial date, the government agreed to certain disclosures
17   in advance of the government’s statutory obligations and precedent in the District of
18   Arizona. At the scheduling conference in May 2018, Defendants argued that they needed
19   additional time to prepare for trial, and the Court granted their request to set the trial for
20   January 15, 2020. (CR 131). However, the Court did not alter any other deadlines. Thus,
21   the trial was extended three months but all disclosure deadlines (e.g., Rule 16, Jencks Act
22   material, expert notices, etc.) remained the same.        As a result, Defendants received
23   disclosures earlier than they would have under the parties’ originally-negotiated schedule.
24
25
26   1
      Many of the suggestions discussed below are also described in the U.S. Courts’ COVID-
27   19 Judicial Task Force’s recently-released jury subgroup report, “Conducting Jury Trials
     and     Convening    Grand      Juries     During   the    Pandemic,”     available   at
28   https://www.uscourts.gov/sites/default/files/combined_jury_trial_post_covid_doc_6.10.2
     0.pdf.

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 1          On June 3, 2019, Defendants filed a motion to continue the January 2020 trial date.
 2   On July 1, 2019, the Court granted the motion, continuing the January trial date for an
 3   additional four months until May 5, 2020. (CR 664.) On January 29, 2020, Defendants
 4   filed a second motion to continue trial. On February 21, 2020, the Court granted this
 5   motion, continuing the trial date for an additional three and a half months until August 17,
 6   2020. (CR 893.) On May 29, 2020, Defendants filed their third motion to continue trial.
 7   (CR 990.) As explained below, the Court should deny Defendants’ present request for an
 8   indefinite and open-ended trial continuance.
 9                                           ARGUMENT
10          Trial courts are accorded wide latitude in scheduling trials. Morris v. Slappy, 461
11   U.S. 1, 11 (1983). In exercising its “broad discretion,” United States v. Flynt, 756 F.2d
12   1352, 1358-59 (9th Cir.), amended, 764 F.2d 675 (9th Cir. 1985), to grant or deny a
13   continuance, courts conduct a “case-by-case inquiry . . . bound by no particular mechanical
14   test.” Armant v. Marquez, 772 F.2d 552, 556 (9th Cir. 1985). That said, four factors help
15   guide this Court’s consideration of whether to grant Defendants’ motion: (1) the
16   defendants’ diligence in their efforts to ready a defense prior to the trial date; (2) the
17   usefulness of the continuance; (3) the extent to which granting the continuance
18   inconveniences the court, the government, and its witnesses; and (4) prejudice to the
19   defendants as a result of the failure to grant a continuance. Flynt, 756 F.2d at 1358-62.
20   The weight attributed to any one fact may vary. Id. (citation omitted). “[T]he focus of
21   [the] prejudice inquiry is the ‘extent to which the aggrieved party’s right to present his
22   defense [may be] affected.’” United States v. Kloehn, 620 F.3d 1122, 1128 (9th Cir. 2010)
23   (internal quotation marks and citation omitted).
24          Defendants’ motion is largely based on the fourth Flynt factor, prejudice that would
25   result as a failure to grant a continuance because of COVID-19. As discussed below, and
26   to address Defendants’ concerns, several measures can be implemented that will ensure, to
27   the greatest extent possible, the safety of all jury trial participants. Other Flynt factors not
28   argued by Defendants (e.g., diligence; usefulness of a continuance; inconvenience to the


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 1   court, the government and its witnesses, including victims of sex trafficking facilitated by
 2   Backpage who have already waited nearly two and a half years for their day in court)
 3   militate against an open-ended continuance and undoubtedly favor getting this case to trial.
 4   I.     DEFENDANTS’ ASSERTIONS OF PREJUDICE ARE UNAVAILAING OR
            CAN BE ADDRESSED BY SAFEGUARDS BEING ADOPTED BY COURTS
 5          ACROSS THE COUNTRY.
 6          A.     Defendants’ Trial Preparation Concerns Are Unavailing.
 7          Defendants’ argument that they are unable to properly conduct trial preparation
 8   because counsel cannot meet in person with their clients and other witnesses cannot
 9   withstand scrutiny. (Mot at 8.) To start, Defendants have been in possession of the vast
10   majority of discovery in this case for more than two years, and they had two years to
11   prepare for trial before counsel for the defense (and the government) largely shifted to
12   telecommuting in approximately mid-March 2020. (See CR 893 at 4.) Since that time,
13   and in addition to utilizing traditional means of electronic communications (audio-only and
14   FaceTime or Skype video calls, email, shared document review databases like Relativity,
15   and other forms of widely-used collaboration software like GoogleDocs), legal
16   professionals are now widely using video-conferencing platforms such as Zoom or WebEx
17   that allow multiple participants to meet and share documents over in the internet. Defense
18   counsel in this case uses these platforms; indeed, they recently requested to appear for the
19   June 19, 2020 hearing via Zoom video conferencing. (See Ex. B, June 3, 2020 email from
20   B. Feder to E. Garcia.) In short, the argument that defense counsel are unable to prepare
21   for trial because they cannot meet with Defendants or potential witnesses in-person to
22   assess their demeanor and credibility until COVID-19 subsides should be rejected.
23          The defense also suggests that they have been impeded in trial preparation by not
24   having in-person access to their law offices. (Mot. at 6.) However, they fail to articulate
25   how they have been prevented from engaging in any specific forms of trial preparation
26   (other than in-person meetings that can be conducted via Zoom) by working remotely.
27   Moreover, they do not explain why they cannot access their offices on a limited basis if
28   necessary to, for example, retrieve hardcopy files or review demonstrative exhibits,


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 1   provided they adhere to now-commonplace precautions such as mask-wearing and social
 2   distancing.
 3
            B.     Defendants’ Claim that COVID-19 Will Deprive Them of Trial Before a
 4                 Cross-Section of the Community Is Unfounded, Speculative, and Premature.

 5          Before the Court has even adopted and disseminated a jury questionnaire and
 6   assembled the venire, Defendants assert that “jury summonses issued for an August trial
 7   cannot produce a lawful cross-section of the community.” (Mot. at 10.) This claim fails
 8   because: (1) it is premature; (2) Defendants have not demonstrated any failure to comply
 9   with the Jury Selection and Service Act, 28 U.S.C. §§ 1861-71 (JSSA); (3) Defendants
10   cannot meet the second or third prongs of the applicable fair cross-section test; and (4) the
11   JSSA addresses the need for calling additional jurors when there is an unanticipated
12   shortage.
13                 1.     Defendants’ Claim Is Premature.
14          Defendants’ fair cross-section claim cannot arise before the venire is even called—
15   at minimum, the second and third prongs of the fair cross-section test require showing a
16   pattern of venires that lack fair and reasonable representation based on a systematic
17   exclusion of same. See Duren v. Missouri, 439 U.S. 357, 360 (1979). Furthermore,
18   Defendants cannot establish a prima facie violation of the fair cross-section requirement
19   by relying solely on the composition of the venire at their own trial. United States v.
20   Olaniyi-Oke, 199 F.3d 767, 773 (5th Cir. 1999); McGinnis v. Johnson, 181 F.3d 686, 690
21   (5th Cir. 1999) (“[A] one-time example of underrepresentation of a distinctive group
22   wholly fails to meet the systemic exclusion element of Duren.”). Defendants’ assertion is
23   entirely premature and should be rejected.
24
                   2.     Defendants Haven’t Demonstrated a Substantial Failure to Comply
25                        with the JSSA.
26          To obtain relief under the JSSA, “a defendant must prove a ‘substantial failure’ to
27   comply with the Act’s provisions, a substantial failure being one that destroys the random
28   nature or objectivity of the selection process.” Olaniyi-Oke, 199 F.3d at 772. The


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 1   “happenstance” of a disproportionate jury venire is simply not enough to prevail under the
 2   JSSA—for example, not every venire will match the proportions of minorities in the
 3   community, given the nature of random selection and the size of the sample. Id.
 4          Here, Defendants fail to challenge the selection process—“which is what Section
 5   1867 is designed for”—and instead allege that the venire might fail to represent a fair cross-
 6   section of the community. See id. The defendant in Olaniyi-Oke similarly alleged that his
 7   venire had “too few” minorities. After noting that every venire would not match the
 8   proportions of minorities in the community based on the nature of randomness, the court
 9   held defendant’s claim not cognizable under the JSSA because he failed to demonstrate
10   any failure to comply with the statute. This Court should reach the same result. Defendants
11   allege that the mere act of sending a jury summons during COVID-19 “destroys the random
12   nature” of jury selection.” (Mot. at 11.) But they fail to identify any JSSA provision that
13   would be violated. As such, Defendants present no cognizable claim under the JSSA.
14
                   3.     Defendants Cannot Meet The Second or Third Prongs of the Fair
15                        Cross-Section Test.

16          The Sixth Amendment and the Due Process Clause of the Fifth Amendment both
17   require that juries be drawn from a “fair cross-section” of the community. See Berghuis v.
18   Smith, 559 U.S. 314, 319 (2010); Duren, 439 U.S. at 360; Taylor v. Louisiana, 419 U.S.
19   522 (1975); United States v. Williams, 264 F.3d 561, 567-68 (5th Cir. 2001). “However,
20   this does not mean that the Constitution guarantees a ‘jury of any particular composition.”’
21   Paresdes v. Quarterman, 574 F.3d 281, 289 (5th Cir. 2009). To establish a prima facie
22   violation of the fair cross-section requirement, a defendant must demonstrate the following
23   three prongs, commonly referred to as the Duren test:
24          (1) that the group alleged to be excluded is a “distinctive” group in the
25             community;
26          (2) that the representation of this group in venires from which juries are
27             selected is not fair and reasonable in relation to the number of such
28             persons in the community; and


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 1          (3) that this underrepresentation is due to systematic exclusion of the group
 2             in the jury-selection process.
 3   Berghuis, 559 U.S. at 319 (quoting Duren, 439 U.S. at 364); United States v. Miller, 771
 4   F.2d 1219 (9th Cir. 1985); United States v. Nelson, 718 F.2d 315, 319-320 (9th Cir. 1983).
 5          District courts in the Eastern District of Louisiana repeatedly rejected claims
 6   following Hurricane Katrina that minority displacement from the hurricane caused a
 7   systemic underrepresentation in its Jury Selection Plan—relying on the third Duren prong.
 8   See, e.g., United States v. Haynes, 2006 WL 1236059, *1 at n.1 (E.D. La. May 3, 2006)
 9   (listing cases). In Haynes, the court first noted that “even assuming for purposes of this
10   motion that African-Americans were displaced disproportionately by the storm, the
11   defendant cannot establish the second requirement, that the representation of African-
12   Americans in venires from which juries are selected is not fair in relation to the number of
13   such persons in the community.” Id. at *2. But even if the defendant had demonstrated
14   underrepresentation, he failed to demonstrate that it was the result of “systematic
15   exclusion”—that is, “when the under representation is due to the system of jury selection
16   itself, rather than external forces.” Id. (quoting United States v. Rioux, 97 F.3d 648 (2d
17   Cir. 1996)) (citing cases in which demographic changes, bad weather, and natural disasters
18   resulted in underrepresentation in the jury venire but did not amount to constitutional
19   violations). Ultimately, the court held that “[i]n this case, any under representation, if it
20   exists, was caused by natural disaster, and not by any systematic flaw or subjectivity in the
21   Jury Selection Plan.” Id. at *3. As a result, the court denied the defendant’s motion to
22   quash the venire and stay the trial proceedings. Similarly, COVID-19, a natural disaster in
23   its own right, would fail to give rise to a fair cross-section claim under the third prong of
24   the Duren test, even if Defendants could statistically demonstrate significant
25   underrepresentation of minority groups in the venires (which they have not).
26                 4.     The JSSA Addresses Potential Juror Shortage.
27          The JSSA addresses a scenario in which there is an unanticipated shortage of
28   available petit jurors. It provides that “[w]hen there is an unanticipated shortage of


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 1   available petit jurors drawn from the qualified jury wheel, the court may require the
 2   marshal to summon a sufficient number of petit jurors selected at random from the voter
 3   registration lists, lists of actual voters, or other lists specified in the plan, in a manner
 4   ordered by the court consistent with sections 1861 and 1862 of this title.” See 28 U.S.C. §
 5   1866(f). Thus, if the Court determines that an insufficient number of jurors has responded
 6   for the venire due to COVID-19, additional jurors could be summoned.
 7          Additionally, the government has proposed questions to Defendants to include in
 8   the jury questionnaire to reduce the time in court needed to assess jurors for health concerns
 9   or risk factors in order to excuse or defer jurors that have current health issues or pose a
10   risk of infection to others. These questions include or cover the following:
11          1.     Have you been tested for COVID-19? If so, what was the result of the
                   test?
12
            2.     Have you been diagnosed or assessed presumptively positive for
13                 COVID- 19?
14          3.     At any time over the past two weeks, have you developed flu-like
                   symptoms such as a cough, fever, shortness of breath, or a loss of the
15                 sense of taste or smell?
16          4.     Have you been in close contact with anyone who has been diagnosed
                   with a COVID-19 infection within the last two weeks?
17
            5.     Are you a healthcare worker directly involved with the treatment of
18                 COVID-19?
19          6.     Are you or someone in your household considered to be at high risk
                   for complications from contracting COVID-19 because of a
20                 preexisting condition, age, or other characteristic? If so, please
                   explain in detail.
21
            7.     Do you have significant childcare or eldercare issues as a result of
22                 COVID-19-related closures that would make it difficult for you to
                   serve as a juror? If so, please explain in detail.
23
            8.     Are you dependent on mass transportation to travel to and from the
24                 courthouse?
25
26          Moreover, the Court could issue a supplemental questionnaire on the day jury
27   service begins to obtain up-to-date information regarding the prospective jurors’ health and
28   potential exposure to individuals with COVID-19. The Court could also consider more


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 1   permissive policies for excusing, deferring, or otherwise exempting potential jurors from
 2   service of a summons based on responses to the questionnaire.
 3          C.     This Court Has Adopted Procedures to Facilitate Jury Selection, Voir Dire,
                   Instructing the Jury and Jury Deliberations in a Manner that Reasonably
 4                 Addresses Health and Safety Concerns.
 5          Several other federal district courts have issued orders detailing the protocol for the
 6   commencement of trials. (See, e.g., Ex. A). In addition, Chief Judge G. Murray Snow of
 7   the District of Arizona has issued an order partially lifting the moratorium on jury and other
 8   trials in the Tucson and Phoenix Courthouses and setting forth measures to minimize
 9   COVID-19 exposure during jury trials. (General Order 20-26 at 2-5.)
10           The parties have already agreed to use a jury questionnaire to gather biographical
11   and other basic information about potential jurors that will expedite jury selection and limit
12   the time jurors spend in the courtroom. The current proposed questionnaire is mandatory
13   and signed under penalty of perjury. The completed questionnaires will be filed under seal
14   to protect the sensitive health information of the potential jurors who have concerns about
15   COVID-19 exposure.
16          In addition, arrival times could be staggered for potential jurors, especially when
17   selecting juries for multiple trials, and using several staging areas to facilitate social
18   distancing. The Court could use video teleconferencing for preliminary and general
19   instructions and as a supplement to juror questionnaires on basic questions. The Court
20   could further consider conducting voir dire with small groups of jurors until a full jury is
21   selected. It could also consider seating potential and selected jurors in the courtroom
22   gallery, with sufficient space to encourage social distancing. The Court may direct the use
23   of transparent plastic or plexiglass screens where possible to minimize interactions between
24   court staff and attorneys. (See Ex. A at 2.) The jury could take breaks and deliberate in a
25   spacious, unused courtroom that will allow jurors to remain much more than six feet apart
26   at all times. (See Ex. A at 2.)
27          The government recommends that that the Court make available to potential jurors
28   personal protective equipment, including face masks and/or transparent face shields, or


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 1   require jurors to bring and wear their own face coverings.
 2          There are options for the Court to reimburse jurors for parking to avoid issues related
 3   to public transportation, and safely provide lunch or ask jurors to bring their own food as
 4   well as determine where jurors can eat lunch and maintain social distancing.
 5          The Court may instruct jurors via closed circuit video or in pre-recorded instructions
 6   to shorten the length of time in court. The parties can evaluate which rooms will allow for
 7   safe social distancing during deliberations, including clearing the courtroom for
 8   deliberations and using microphones or other means of amplifying voices to ensure
 9   effective communication among jurors.
10
            D.      Use of the Special Proceedings Courtroom or Other Measures Can
11                  Ameliorate Many of Defendants’ Health and Safety Concerns.
12           The United States respectfully requests that the Special Proceedings Courtroom
13   (SPC) in the Phoenix Courthouse be considered as a possible venue for the trial given the
14   larger number of trial participants involved in this case. The government understands that
15   the SPC is currently utilized for VTC proceedings, along with another VTC-equipped
16   courtroom, and the government is cognizant of the Court’s need to balance a large number
17   of competing considerations in determining how to allocate and utilize the Phoenix
18   Courthouse’s resources.       Nevertheless, and for several reasons, the United States
19   respectfully suggests that the SPC may be ideally suited for the trial in this case.
20           As the Court knows, the Special Proceeding Courtroom is being utilized for jury
21   trials in the Tucson Courthouse. (General Order 20-26 at 5.) The Phoenix SPC has a much
22   larger seating capacity than the standard courtrooms in the Phoenix Courthouse, allowing
23   for greater social distancing among numerous trial participants. The SPC can be accessed
24   via a single flight of stairs, reducing the need for trial participants to access limited elevator
25   space. The SPC has an open ceiling that reaches several stories high, facilitating air flow
26   and circulation.    The large juror assembly room is in close proximity, immediately
27   downstairs from and underneath the SPC, and it could be utilized by the jurors during
28   breaks and lunch. The SPC’s upstairs viewing platform allows for social distancing among


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 1   members of the public and press choosing to observe trial proceedings, and it could be used
 2   by itself or in conjunction with overflow space in another room where members of the
 3   public and press could view courtroom proceedings via closed-circuit video.
 4          Perhaps most importantly, use of the SPC would prevent the expected 12-week trial
 5   in this case from monopolizing one of the two courtrooms that have been retrofitted for
 6   holding jury trials consistent with General Order 20-26. 2
 7          If use of the SPC is not feasible, the United States respectfully requests that trial
 8   take place in one of the other courtrooms that the Court has designated for jury trial use.
 9          Regardless of the courtroom used, the government recommends that the Court
10   conduct a walkthrough or mock trial with the parties and court personnel to identify issues
11   with social distancing and protecting the safety of participants. To maximize social
12   distance during the course of trial, the parties should plan ahead regarding seat
13   arrangements for counsel, Defendants and support staff to maintain social distancing.
14          The parties, at the direction of the Court and the General Services Administration,
15   can evaluate plans for sanitizing court facilities throughout the phases of the trial and the
16   Court can communicate safety measures to prospective jurors in advance.
17          E.     Defendants’ Concerns Regarding Witnesses, Masks, Evidence Presentation
                   and Other Courtroom Issues Can Be Addressed by Measures Adopted by
18                 Other Courts and Contemplated by General Order 20-26.
19           The parties may coordinate with potential witnesses as early as possible regarding
20   service of subpoenas and transportation issues, and discuss any health concerns, risk
21   factors, travel restrictions, or state or local quarantine requirements. Here, the government
22   intends to call approximately 100 witnesses. At the moment there are no government-
23   imposed travel restrictions that would prevent the witnesses to be present for the currently
24
25   2
      The United States notes that General Order 20-26 contains differing statements regarding
26   multi-defendant cases. A sentence on page three provides that “Multi-defendant
     proceedings such as operation streamline and the Court’s flip-flop calendar remain
27   canceled until further notice.” (General Order 20-26 at 3.) However, the next page
     contemplates the seating of more than one attorney and client at counsel table in multi-
28   defendant cases. (Id. at 4.) Moreover, the Order only specifically addresses trials in June
     and July. (See id. at 2.)

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 1   scheduled August trial or a trial later this fall. In any event, this is an issue for the
 2   government to resolve. Defendants’ witnesses will not being testifying until a later point
 3   in the trial, allowing for additional time to assess any COVID-19 concerns.
 4          The government recommends that witnesses not wear face coverings while
 5   testifying to avoid constitutional issues. General Order 20-26 expressly allows for witness
 6   testimony without masks at the Court’s direction, provided that appropriate social
 7   distancing or other protective measures are allowed. (General Order 20-2 at 4.) Moreover,
 8   the Court and the parties can consider alternative ways of protecting witnesses and other
 9   trial participants, including by providing additional space and using plexiglass screens or
10   transparent face coverings. (See Ex. A at 1-2 (discussing rolling plexiglass screens)); see
11   also Maryland v. Craig, 497 U.S. 836, 850 (1990) (“[A] defendant’s right to confront
12   accusatory witnesses may be satisfied absent a physical, face-to-face confrontation at trial
13   only where denial of such confrontation is necessary to further an important public policy
14   and only where the reliability of the testimony is otherwise assured.”); id. at 857
15   (concluding that “where necessary to protect a child witness from trauma that would be
16   caused by testifying in the physical presence of the defendant, at least where such trauma
17   would impair the child’s ability to communicate, the Confrontation Clause does not
18   prohibit use of a procedure that, despite the absence of face-to-face confrontation, ensures
19   the reliability of the evidence by subjecting it to rigorous adversarial testing and thereby
20   preserves the essence of effective confrontation”). But see Coy v. Iowa, 487 U.S. 1012,
21   1021 (1988) (holding that the placement of screen between defendant and child sexual
22   assault victims during their testimony at trial violated defendant’s right to face-to-face
23   confrontation under confrontation clause). Courts have approved of additional
24   circumstances in which witnesses may testify with face coverings or disguises, including
25   protecting the identity of agents or witnesses who fear reprisal from gangs. See, e.g. United
26   States v. de Jesus-Castaneda, 705 F.3d 1117, 1120–21 (9th Cir. 2013); Moralez v. Artuz,
27   281 F.3d 55, 60 (2d Cir. 2002).
28


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 1           In addition, the government is open to witnesses appearing by video, or other than
 2   in-person, if there is a clear and unequivocal waiver to avoid running afoul of the
 3   Confrontation Clause. See United States v. Gigante, 166 F.3d 75, 79–80 (2d Cir. 1999)
 4   (admission of witness’s testimony via two-way, closed-circuit television from a remote
 5   location did not violate defendant’s right of confrontation, where witness was fatally ill
 6   and was part of witness protection program, and defendant was too ill to participate in
 7   distant deposition); United States v. Yates, 438 F.3d 1307, 1312–13 (11th Cir. 2006) (en
 8   banc) (“[a] defendant’s right under the Confrontation Clause to confront accusatory
 9   witnesses may be satisfied, in the absence of physical, face-to-face confrontation at trial,
10   only where denial of such confrontation is necessary to further an important public policy,
11   and only where reliability of testimony is otherwise assured.”; allowing the government to
12   present testimony by video teleconference was not necessary to further any important
13   public policy and violated defendants’ rights); see also United States v. Carter, 907 F.3d
14   1199, 1208 (9th Cir. 2018) (holding in prosecution for sex trafficking with minors that the
15   fact that one alleged, now-adult victim was seven months pregnant and unable to travel
16   due to complications associated with her pregnancy did not support finding of necessity,
17   such as would permit court to impinge on defendant’s right to physically confront witnesses
18   against him by allowing this witness to testify remotely by two-way video conference). 3
19          Here, the parties have exchanged witness and exhibit lists many months before trial
20   and the government will continue to send updated lists to Defendants. The government has
21   filed a motion to admit certain categories of evidence in an effort to narrow evidentiary
22   issues and facilitate the introduction of uncontested exhibits outside the presence of the
23   jury. (CR 916). This will minimize the use of sidebars by handling evidentiary issues
24   during breaks outside the presence of the jury. The government also recommends using
25   microphones at counsel table to conduct conferences or sidebars. Further, the government
26
     3
27      Although the government does not anticipate any serious issues with in-court
     identification (identification is not a defense raised in this case), it is open to considering
28   alternative procedures or stipulations for in-court identifications if the participants are
     wearing face coverings.

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 1   intends to utilize technology to minimize the need to approach witnesses or handle physical
 2   exhibits. This will essentially be a paperless trial as each exhibit will be presented by a
 3   trial presentation software (Trial Director) or the document camera (Elmo). The parties
 4   could evaluate technological options to ensure jurors can effectively review evidence (pre-
 5   loaded iPads for deliberation, the use of Jury Evidence Recording System (JERS),
 6   computer and thumb drives, etc.), including digital evidence, in courtrooms reorganized
 7   for social distancing. (See also Ex. A at 1-2.)
 8           The government is mindful of the need for Defendants and counsel to have
 9   adequate opportunity to consult with one another throughout the trial. Cases have approved
10   seating arrangements that separate defendants from counsel as long as they can consult
11   freely during trial. See, e.g., United States v. Levenite, 277 F.3d 454, 465–66 (4th Cir.
12   2002) (the placement of defendants six feet behind their counsel did not deny them the
13   assistance of counsel, in violation of the Sixth Amendment, where counsel and client were
14   free to consult throughout the trial, and there was no evidence that either defendant’s ability
15   to communicate with his attorney and assist in his defense was impaired); United States v.
16   Balsam, 203 F.3d 72, 81–82 (1st Cir. 2000) (defendants seated four to five feet from
17   defense table and permitted to “consult freely” with counsel were not denied assistance of
18   counsel); United States v. Jones, 766 F.2d 994, 1004 (6th Cir. 1985) (in a trial of 18
19   defendants where the defendants were seated in two rows behind counsel’s table, there was
20   no Sixth Amendment violation because defendants were able to communicate with their
21   attorneys during trial). The Court could explore other solutions, such as allowing defense
22   counsel to use the interpreter headsets in the courtroom to communicate with their clients
23   while maintaining adequate distance between one another. (See Ex. A at 2).
24           F.    Public and Press Access Can and Should Be Safeguarded.
25           To safeguard the public’s and Defendants’ rights to an open and public trial, and
26   also allow safe access for victims and trial participants, the government recommends that
27   the Court and parties evaluate options for social distancing within the courtroom. See, e.g.,
28   Presley v. Georgia, 558 U.S. 209, 215 (2010) (“Trial courts are obligated to take every


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 1   reasonable measure to accommodate public attendance at criminal trials.”). In addition to
 2   a defendant’s right to a public trial under the Sixth Amendment, the Supreme Court has
 3   “further held that the public trial right extends beyond the accused and can be invoked
 4   under the First Amendment.”         Id. at 212 (citations omitted); see also Richmond
 5   Newspapers, Inc. v. Virginia, 448 U.S. 555, 569 (1980) (plurality) (summarizing the
 6   evolution of the criminal trial and concluding that trials have “long been presumptively
 7   open”). Again, the SPC is a larger space that can accommodate more spectators and allow
 8   for greater social distancing. Another option to facilitate public access would be to set up
 9   a closed-circuit broadcast of proceedings available in a separate room if there is insufficient
10   space to allow adequate social distancing for the public in the courtroom.
11
     II.    AN INDEFINITE OR PROLONGED CONTINUANCE WOULD BE
12          HIGHLY PREJUDICIAL TO THE GOVERNMENT.

13          The other Flynt factors—none of which Defendants argue—all militate against a
14   continuance. Flynt, 756 F.2d at 1358-62. Defendants have not shown how their diligence
15   justifies further delay; the sole rationale for their motion is a circumstance outside of the
16   control of any party—COVID-19. Nor have Defendants demonstrated the usefulness of a
17   continuance. Their motion is devoid of constructive (or any) suggestions for ameliorating
18   the concerns outlined in their brief.
19          Finally, Defendants’ suggestion that the United States and its witnesses will not face
20   any prejudice from indefinite delay is disingenuous. (See Mot. at 17.) To be sure, the
21   United States acknowledges that the Court may need to accommodate other cases involving
22   in-custody defendants that take precedence over this out-of-custody defendant case. The
23   government also understands a short continuance of the August trial date might be needed
24   to implement procedures that will ensure, to the greatest extent possible, the safety of
25   everyone involved in this trial.        Nevertheless, a prolonged delay (or the indefinite
26   continuance Defendants request) would be highly prejudicial to the United States and its
27   witnesses.
28


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 1          This case has been pending for over 26 months. The defense has already sought
 2   and received three continuances. The government has the burden of proof at trial and has
 3   expended significant resources with the expectation that trial will begin in August. Over
 4   time, memories can fade, and other circumstances can arise that make it more difficult for
 5   victims and other witnesses to testify at trial. As the Court recognized in its Order granting
 6   Defendant’s third request for continuance, four months ago, both victims and the public
 7   have a right to proceedings free from unreasonable delay under the Crime Victims’ Right
 8   Act. (CR 893 at 5.) The Court further recognized “[a] continuance clearly inconveniences
 9   the government’s witnesses.” (CR 893 at 5.) The Court also stated, and the government
10   agrees, “[a] continuance may represent far more than mere inconvenience” to victims—
11   particularly the victims who have already waited more than two years for their day in court.
12   (CR 893 at 5.) The Court, the victims, witnesses, the government, and the public all have
13   an abiding interest in certainty, finality and closure in this long-pending case.
14                                          CONCLUSION
15          Defendants’ motion to indefinitely continue the August 17, 2020 trial date should
16   be denied. The government is confident that the Court and the parties can implement
17   procedures that will ensure, to the greatest extent possible, the safety of everyone involved
18   and will, at the same time, enable the justice system to continue to operate. Accordingly,
19   the government respectfully requests that the Court proceed with trial as scheduled, or
20   provide a brief continuance and reset trial for a date certain in the fall of 2020. If necessary,
21   the Court could hold periodic status conferences until the trial date to discuss further
22   safeguards and facilitate trial.
23          Respectfully submitted this 12th day of June, 2020.
24                                               MICHAEL BAILEY
                                                 United States Attorney
25                                               District of Arizona
26                                               s/ Kevin M. Rapp
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 7
 8
 9
10
11
12                               CERTIFICATE OF SERVICE

13          I hereby certify that on this same date, I electronically transmitted the attached
14   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
15   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
16   as counsel of record.
17
     s/ Marjorie Dieckman
18   Marjorie Dieckman
     U.S. Attorney’s Office
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